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 EXHIBIT 15
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7 lines (7 sloc)   403 Bytes

  1   <label for="accepted-tos" class="Field--checkbox">
  2     <input type="checkbox" id="accepted-tos" required data-signup-checkbox/>
  3     <%= juul_t('page.shared.login.by_registering_with',
  4                url: current_store.tos_url, #We leave this to support old translaions until t
  5                tos_url: current_store.tos_url,
  6                privacy_url: current_store.privacy_policy_url) %>
  7   </label>
